
PER CURIAM.
The petitioners, Miceosukee Tribe of Indians of Florida and Friends of the Everglades, appeal from a final order of the Department of Environmental Protection granting a Non-Everglades Construction Project Permit that would allow the continued maintenance and operation of thirty-seven flood control structures that discharge water into, within, or from the Everglades Protection Area. We affirm.
First, we find that the administrative law judge properly limited her inquiry to the review criteria set forth in section 373.4592(9)(k), (l), Florida Statutes (1997). § 373.4592(9)(c), Fla.Stat. (1997). Next, we find that the administrative law judge’s recommendation that the permit be issued was supported by competent, substantial evidence. A review of the record shows that South Florida Water Management District met its burden of demonstrating reasonable assurances that its schedules and strategies will provide compliance with water quality standards to the maximum extent practicable. § 373.4592(9)(k), (l), Fla.Stat. (1997). Accordingly, we affirm the Department of Environmental Protection’s order granting the Non-Everglades Construction Project Permit.
Affirmed.
